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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                      Case No. 97-CR-81493-BC

ALAN MIKELL and CHRISTOPHER GRISEL,

              Defendants.
                                                  /

              ORDER STRIKING DEFENDANT MIKELL’S JUNE 29, 2006
                 “SECOND SUPPLEMENTAL MEMORANDUM . . .”

       On June 19, 2006, the court issued an order setting deadlines to object to the

pre-sentence investigation report and to file pre-sentence briefs. As detailed in the June

19, 2006 order, and as provided by the local rules, “objections and responses shall be

sent directly to the probation officer, not filed on this court’s docket.” (See 6/19/06

Order at 1; see also E.D. Mich. LCrR 32.1(b).) Despite this instruction, Defendant Mikell

filed his June 29, 2006 objection, entitled “Defendant Mikell’s Second Supplemental

Memorandum in Support of Objections to Guideline Applications in the Presentence

Investigation Report Prepared July 19, 1999," directly on the court’s docket. Inasmuch

as Defendant Mikell’s filing is in contravention of this court’s order, as well as the local

rules, the court will strike the filing from the docket. This order, however, shall not be

interpreted as instructing the probation officer not to review Defendant Mikell’s

objections. If the probation officer has not been served with Defendant’s objections,

Defendant Mikell shall serve him within the next seven days.
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           Accordingly, IT IS ORDERED that Defendant Mikell’s June 29, 2006 “Second

Supplemental Memorandum . . .” [Dkt. # 431] is hereby STRICKEN from the docket of

this court.



                                                                   S/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE
Dated: July 11, 2006

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 11, 2006, by electronic and/or ordinary mail.

                                                                   S/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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